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                                                    9
                                                         Attorneys for Plaintiff Gregory T. Treihart

                                                    10                      UNITED STATES DISTRICT COURT
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                                                    11             CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
                           Costa Mesa, California




                                                    12
                                                             GREGORY T. TREIHART,                          Case No:
                                                    13       Individually and On Behalf of All
                                                    14       Others Similarly Situated,                    CLASS ACTION
                                                    15
                                                                                     Plaintiff,            COMPLAINT FOR DAMAGES
                                                    16                                                     AND INJUNCTIVE RELIEF:
                                                             vs.
                                                    17                                                      1. UNLAWFUL RECORDING
                                                    18                                                         OF CELLULAR
                                                                                                               COMMUNICATIONS
                                                    19
                                                             BRIDGECREST ACCEPTANCE                            UNDER CALIFORNIA
                                                                                                               PENAL CODE SECTION
                                                    20       CORPORATION dba                                   632.7;
                                                             DRIVETIME CAR SALES                            2. INVASION OF PRIVACY
                                                    21
                                                             COMPANY,                                          INTRUSION INTO PRIVATE
                                                    22                                                         AFFAIRS
                                                                                     Defendant.
                                                    23
                                                                                                           JURY TRIAL DEMANDED
                                                    24

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                                                                                                       1
                                                         Class Action Complaint for Damages
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                                                    1                                               INTRODUCTION
                                                    2    1.     Gregory T. Treihart (“Plaintiff”), individually and on behalf of all others
                                                    3           similarly situated California residents (“Class Members”), brings this action for
                                                    4           damages and injunctive relief against Bridgecrest Acceptance Corporation dba
                                                    5           DriveTime Car Sales Company (hereinafter, referred to as “Defendants”), and
                                                    6           its present, former, or future direct and indirect parent companies, subsidiaries,
                                                    7           affiliates, agents, related entities for unauthorized recordings of conversations
                                                    8           with Plaintiff and Class Members without any notification nor warning to
                                                    9           Plaintiff or Class Members in violation of the California Invasion of Privacy
                                                    10          Act, Cal. Pen. Code § 630, et seq. (“CIPA”).
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                                                    11   2.     The California State Legislature passed CIPA in 1967 to protect the right of
                           Costa Mesa, California




                                                    12          privacy of the people of California, replacing prior laws that permitted the
                                                    13          recording of telephone conversations with the consent of one party to the
                                                    14          conversation. California Penal Code § 632.7 was added to CIPA in 1992 due to
                                                    15          specific privacy concerns over the increased use of cellular and cordless
                                                    16          telephones. Section 632.7 prohibits intentionally recording all communications
                                                    17          involving       cellular      and   cordless   telephones,   not   just   confidential
                                                    18          communications.
                                                    19   3.     Plaintiff makes these allegations on information and belief, with the exception of
                                                    20          those allegations that pertain to Plaintiff, or to Plaintiff’s counsel, which
                                                    21          Plaintiff alleges on his personal knowledge.
                                                    22   4.     Unless otherwise stated, all the conduct engaged in by Defendant took place in
                                                    23          California.
                                                    24   5.     All violations by Defendant were knowing, willful, and intentional, and
                                                    25          Defendant did not maintain procedures reasonably adapted to avoid any such
                                                    26          violation.
                                                    27   6.     Unless otherwise indicated, the use of Defendant’s name in this Complaint
                                                    28          includes all agents, employees, officers, members, directors, heirs, successors,

                                                                                                          2
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                                                    1           assigns, principals, trustees, sureties, subrogees, representatives, and insurers of
                                                    2           the named Defendant.
                                                    3                                         Jurisdiction and Venue
                                                    4    7.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff seeks
                                                    5           $5,000 in damages for each violation of the CIPA, which, when aggregated
                                                    6           among a proposed class number in the tens of thousands, exceeds the
                                                    7           $5,000,000 threshold for federal court jurisdiction. Further, Plaintiff alleges a
                                                    8           national class, which will result in at least one class member belonging to a
                                                    9           different state than that of the Defendant, providing jurisdiction under 28 U.S.C.
                                                    10          § 1332(d)(2)(A). Therefore, the elements of the Class Action Fairness Act of
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                                                    11          2005 (“CAFA”) are met, and this Court has jurisdiction.
                           Costa Mesa, California




                                                    12   8.     Upon information and belief Defendant Bridgecrest, at all material times hereto,
                                                    13          acted on behalf of Defendant DriveTime, making unlawful and illegal
                                                    14          recordings of conversations with customers, including Plaintiff.
                                                    15   9.     This Court has personal jurisdiction over Defendant because Defendant have
                                                    16          sufficient minimum contacts in California through systematic and continuous
                                                    17          marketing, sales, and distribution of their products and services, or otherwise
                                                    18          intentionally avail themselves of the California market through the promotion,
                                                    19          sale, marketing and distribution of their products so as to render the exercise of
                                                    20          jurisdiction over them by the California courts consistent with traditional notions
                                                    21          of fair play and substantial justice. Moreover, Defendant’s wrongful and illegal
                                                    22          conduct (as described herein) foreseeably affects consumers in California.
                                                    23          Furthermore, Defendant is registered to conduct business in California.
                                                    24   10.    Venue is proper in this Court because, upon information and belief, Defendant
                                                    25          transact business in this district and the acts and omissions alleged, specifically,
                                                    26          Defendant invaded Plaintiff’s privacy by illegally recording a conversation with
                                                    27          Plaintiff, occurred while Plaintiff was physically located in the city of Riverside,
                                                    28          State of California, pursuant to 28 U.S.C. § 1391(b)(2).

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                                                    1    11.    Furthermore, Defendant has established sufficient contacts in this district
                                                    2           pursuant to 28 U.S.C. § 1391(a), through the business of promoting, selling,
                                                    3           marketing and distributing various products including vehicle financing related
                                                    4           products and services.
                                                    5                                               Parties
                                                    6    12.    Plaintiff is, and at all times mentioned herein was, an individual citizen and
                                                    7           resident of the State of California, City of Riverside, in this judicial district.
                                                    8    13.    Plaintiff is informed and believes, and thereon alleges, that Defendant operates
                                                    9           car dealerships which focus on offering used cars to consumers in twenty-seven
                                                    10          states, including California.
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                                                    11   14.    Defendant is a foreign limited liability company organized and existing by
                           Costa Mesa, California




                                                    12          virtue of the laws of the State of Arizona and doing business in California.
                                                    13   15.    Plaintiff alleges that at all times mentioned herein was, a “person”, as defined by
                                                    14          Cal. Pen. Code § 632(b).
                                                    15   16.    The transactions and occurrences that give rise to Plaintiff’s claims against
                                                    16          Defendant occurred in California.
                                                    17   17.    All of the acts and failures to act alleged herein were duly performed by and are
                                                    18          attributable to Defendant, acting by and through its agents and employees. These
                                                    19          acts and failures to act were within the scope of Defendant’s agency and/or
                                                    20          employment, and Defendant ratified these unlawful acts and omissions.
                                                    21                                        FACTUAL ALLEGATIONS
                                                    22   18.    On or around April 7, 2016, Defendant called Plaintiff on his cellular telephone
                                                    23          ending in 1740.
                                                    24   19.    When Plaintiff answered the telephone, Defendant’s representative identified as
                                                    25          “Shannon” labeled the call a courtesy call and wanted to go over account
                                                    26          information and dealership experience.
                                                    27   20.    At no time during the call did Defendant’s representative inform Plaintiff that
                                                    28          the call was being recorded.

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                                                    1    21.    The parties spoke for around ten minutes and thirty seconds about confidential
                                                    2           personal identifying information.
                                                    3    22.    Plaintiff did not consent to the call being recorded without his knowledge.
                                                    4    23.    Upon information and belief, Defendant records all of its telephone calls,
                                                    5           including the call between Plaintiff and Defendant described above.
                                                    6    24.    Plaintiff was personally affected by Defendant’s aforementioned conduct
                                                    7           because Plaintiff was shocked and upset that Defendant audio recorded one or
                                                    8           more cellular telephone conversations with Plaintiff without Plaintiff’s
                                                    9           knowledge or consent.
                                                    10   25.    California Penal Code § 632.7(a) is very clear in its prohibition against such
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                                                    11          unauthorized tape recording without the consent of the other party to the
                           Costa Mesa, California




                                                    12          conversation: “Every person who, without the consent of all parties to a
                                                    13          communication, intercepts or receives and intentionally records, or assists in the
                                                    14          interception or reception and intentional recordation of, a communication
                                                    15          transmitted between two cellular radio telephones, a cellular radio telephone and
                                                    16          a landline telephone, two cordless telephones, a cordless telephone and a
                                                    17          landline telephone, or a cordless telephone and a cellular radio telephone
                                                    18          [violates this section]”. California Penal Code § 637.2 permits Plaintiff to bring
                                                    19          this action for any violation of California Penal Code § 632.7(a) and provides
                                                    20          for statutory damages of $5,000.00 for each violation.
                                                    21   26.    Defendant recorded or otherwise made an unauthorized connection to the
                                                    22          Plaintiff’s conversations with Defendant and its employees in violation of
                                                    23          California’s statutory and common law against such unlawful intrusions into a
                                                    24          person’s private affairs, including California’s Constitutional prohibition in
                                                    25          Article 1, Section 1.
                                                    26   27.    This suit seeks only damages and injunctive relief for recovery of economic
                                                    27          injury and it expressly is not intended to request any recovery for personal injury
                                                    28          and claims related thereto.

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                                                    1    28.    Plaintiff is informed and believes, and thereon alleges, that Defendant
                                                    2           intentionally recorded a communication transmitted between a cellular radio
                                                    3           telephone and a landline telephone without Plaintiff’s consent as prohibited by
                                                    4           California Penal Code § 632.7(a).
                                                    5    29.    Defendant violated Plaintiff’s constitutionally protected privacy rights by failing
                                                    6           to advise or otherwise provide notice at the beginning of the recorded
                                                    7           conversations with Plaintiff that the call would be recorded and Defendant did
                                                    8           not try to obtain the Plaintiff’s consent before such recording.
                                                    9    30.    The recording or other unauthorized connection was done over the telephone,
                                                    10          without Plaintiff’s prior knowledge or consent. Plaintiff was damaged thereby,
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                                                    11          as detailed herein, in at least an amount permitted by the statutory damages
                           Costa Mesa, California




                                                    12          mandated by California Penal Code § 637.2(a).
                                                    13   31.    Defendant, and its employees and agents, surreptitiously recorded the call made
                                                    14          by Defendant to Plaintiff. At no time before the call or at the outset of the call
                                                    15          was Plaintiff warned, told, advised or otherwise given any indication by
                                                    16          Defendant, its employees or agents, that the call would be recorded.
                                                    17   32.    As a result thereof, Plaintiff has been damaged as set forth in the Prayer for
                                                    18          Relief herein.
                                                    19   33.    Plaintiff seeks statutory damages and injunctive relief under California Penal
                                                    20          Code § 637.2.
                                                    21                                        CLASS ACTION ALLEGATIONS
                                                    22   34.    Plaintiff brings this lawsuit as a class action on behalf of himself and Class
                                                    23          Members of the proposed Class pursuant to Federal Rules of Civil Procedure
                                                    24          23(a) and (b)(3) and/or (b)(2).            This action satisfies the numerosity,
                                                    25          commonality, typicality, adequacy, predominance, and superiority requirements
                                                    26          of those provisions.
                                                    27   35.    Plaintiff proposes the following Class consisting of and defined as follow:
                                                    28

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                                                    1                    All persons in California whose inbound and outbound
                                                    2                    cellular telephone conversations were recorded without their
                                                                         consent by Defendant/s and/or their agent/s within the two
                                                    3                    years prior to the filing of the Complaint.
                                                    4
                                                         36.    Excluded from the Class are: (1) Defendant, any entity or division in which
                                                    5
                                                                Defendant has a controlling interest, and its legal representatives, officers,
                                                    6
                                                                directors, assigns, and successors; (2) the judges to whom this case is assigned
                                                    7
                                                                and the Judge’s staff; and (3) those persons who have suffered personal injuries
                                                    8
                                                                as a result of the facts alleged herein.
                                                    9
                                                         37.    Plaintiff reserves the right to redefine the Class and to add subclasses as
                                                    10
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                                                                appropriate based on discovery and specific theories of liability
                                                    11
                                                         38.    Numerosity: The Class Members are so numerous that joinder of all members
                           Costa Mesa, California




                                                    12
                                                                would be unfeasible and impractical. The membership of the entire Class is
                                                    13
                                                                currently unknown to Plaintiff at this time; however, given that, on information
                                                    14
                                                                and belief, Defendant called thousands of class members in California and
                                                    15
                                                                recorded those calls during the class period, it is reasonable to presume that the
                                                    16
                                                                members of the Class are so numerous that joinder of all members is
                                                    17
                                                                impracticable. The disposition of their claims in a class action will provide
                                                    18
                                                                substantial benefits to the parties and the Court.
                                                    19
                                                         39.    Commonality: There are common questions of law and fact as to Class Members
                                                    20
                                                                that predominate over questions affecting only individual members, including,
                                                    21
                                                                but not limited to:
                                                    22
                                                                   • Whether, within the statutory period Defendant recorded any calls with the
                                                    23
                                                                       Class Members;
                                                    24
                                                                   • Whether Defendant had, and continues to have, a policy during the
                                                    25
                                                                       relevant period of recording telephone calls made to the Class Members;
                                                    26
                                                                   • Whether Defendant’s policy or practice of recording telephone
                                                    27
                                                                       communications with Class Members constitutes an invasion of privacy
                                                    28
                                                                       and a violation of Cal. Penal Code § 632.7;
                                                                                                           7
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                                                    1              • Whether Plaintiff and the Class Members were damaged thereby, and the
                                                    2                  extent of damages for such violation; and
                                                    3              • Whether Defendant should be enjoined from engaging in such conduct in
                                                    4                  the future.
                                                    5    40.    Typicality Plaintiff’s conversation was unlawfully recorded without a warning
                                                    6           of such recording, and thus, her injuries are also typical to Class Members.
                                                    7    41.    Plaintiff and Class Members were harmed by the acts of Defendant in at least
                                                    8           the following ways: Defendant, either directly or through its agents, illegally
                                                    9           recorded the Plaintiff and Class Members’ conversations with Defendant, and
                                                    10          Defendant invading the privacy of said Plaintiff and Class. Plaintiff and Class
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                                                    11          Members were damaged thereby.
                           Costa Mesa, California




                                                    12   42.    Adequacy: Plaintiff is qualified to, and will, fairly and adequately protect the
                                                    13          interests of each Class Member with whom he is similarly situated, as
                                                    14          demonstrated herein. Plaintiff’s attorneys, the proposed class counsel, are versed
                                                    15          in the rules governing class action discovery, certification, and settlement. In
                                                    16          addition, the proposed class counsel is experienced in handling claims involving
                                                    17          consumer actions and violations of the California Penal Code section 632.7.
                                                    18          Plaintiff has incurred, and throughout the duration of this action, will continue to
                                                    19          incur costs and attorneys’ fees that have been, are, and will be, necessarily
                                                    20          expended for the prosecution of this action for the substantial benefit of each
                                                    21          Class Member.
                                                    22   43.    Predominance: Questions of law or fact common to the Class Members
                                                    23          predominate over any questions affecting only individual members of the Class.
                                                    24          The elements of the legal claims brought by Plaintiff and Class Members are
                                                    25          capable of proof at trial through evidence that is common to the Class rather
                                                    26          than individual to its members.
                                                    27   44.    Superiority: A class action is a superior method for the fair and efficient
                                                    28          adjudication of this controversy because:

                                                                                                      8
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                                                    1                a.      Class-wide damages are essential to induce Defendants to comply with
                                                    2                        California law.
                                                    3               b.       Because of the relatively small size of the individual Class Members’
                                                    4                        claims, it is likely that only a few Class Members could afford to seek
                                                    5                        legal redress for Defendant’s misconduct.
                                                    6               c.       Management of these claims is likely to present significantly fewer
                                                    7                        difficulties than those presented in many class claims.
                                                    8               d.       Absent a class action, most Class Members would likely find the cost
                                                    9                        of litigating their claims prohibitively high and would therefore have
                                                    10                       no effective remedy at law.
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                                                    11              e.       Class action treatment is manageable because it will permit a large
                           Costa Mesa, California




                                                    12                       number of similarly situated persons to prosecute their common claims
                                                    13                       in a single forum simultaneously, efficiently, and without the
                                                    14                       unnecessary duplication of effort and expense that numerous individual
                                                    15                       actions would endanger.
                                                    16              f.       Absent a class action, Class Members will continue to incur damages,
                                                    17                       and Defendant’s misconduct will continue without remedy.
                                                    18   45.    Plaintiff and the Class Members have all suffered and will continue to suffer
                                                    19          harm and damages as a result of Defendant’s unlawful and wrongful conduct. A
                                                    20          class action is also superior to other available methods because as individual
                                                    21          Class Members have no way of discovering that Defendant recorded their
                                                    22          telephone conversations without Class Members’ knowledge or consent,
                                                    23          especially since Defendant’s representatives at times falsely state that they do
                                                    24          not record such conversations.
                                                    25   46.    The Class may also be certified because:
                                                    26              • The prosecution of separate actions by individual Class Members would
                                                    27                    create a risk of inconsistent or varying adjudication with respect to
                                                    28                    individual Class Members, which would establish incompatible standards

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                                                    1                   of conduct for Defendant;
                                                    2               • The prosecution of separate actions by individual Class Members would
                                                    3                   create a risk of adjudications with respect to them that would, as a
                                                    4                   practical matter, be dispositive of the interests of other Class Members
                                                    5                   not parties to the adjudications, or substantially impair or impede their
                                                    6                   ability to protect their interests; and
                                                    7               • Defendant has acted or refused to act on grounds generally applicable to
                                                    8                   the Class, thereby making appropriate final and injunctive relief with
                                                    9                   respect to the members of the Class as a whole.
                                                    10          This suit seeks only damages and injunctive relief for recovery of economic
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                                                    11          injury on behalf of Class Members and it expressly is not intended to request
                           Costa Mesa, California




                                                    12          any recovery for personal injury and claims related thereto. Plaintiff reserves
                                                    13          the right to expand Class definitions to seek recovery on behalf of additional
                                                    14          persons as warranted as facts are learned in further investigation and discovery.
                                                    15   47.    The joinder of Class Members is impractical and the disposition of their claims
                                                    16          in the Class action will provide substantial benefits both to the parties and to the
                                                    17          court. The Class Members can be identified through Defendant’s records.
                                                    18                                 FIRST CAUSE OF ACTION
                                                    19                  ILLEGAL RECORDING OF CELLULAR PHONE CONVERSATIONS
                                                                                UNDER CALIFORNIA PENAL CODE § 632.7
                                                    20
                                                    21   48.    Plaintiff repeats, re-alleges, and incorporates by reference, all other paragraphs.

                                                    22   49.    At all relevant times hereto, Defendant had and followed a policy and practice

                                                    23          of using a telecommunications system that enabled it to surreptitiously record

                                                    24          cellular telephone communications between Defendant and Plaintiff and Class

                                                    25          Members.

                                                    26   50.    At all relevant times hereto, Defendant intentionally and surreptitiously

                                                    27          recorded cellular telephone calls concerning confidential matters between

                                                    28          Defendant and Plaintiff and Class Members.

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                                                    1    51.    At all relevant times hereto, Defendant had and followed a policy and practice
                                                    2           of not advising or warning Plaintiff and Class Members that their cellular
                                                    3           telephone communications with Defendant would be recorded.
                                                    4    52.    Defendant failed to obtain consent of Plaintiff and Class Members prior to
                                                    5           recording any of their cellular telephone conversations.
                                                    6    53.    This conduct by Defendant violated section 632.7(a) of the California Penal
                                                    7           Code.
                                                    8    54.    Plaintiff and Class Members are entitled to recovery actual and statutory
                                                    9           damages in the amount of $5,000.00 per violation of Cal. Pen. Code § 632.7.
                                                    10   55.    Plaintiff’s counsel is also entitled to attorneys’ fees and costs pursuant to Cal.
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                                                    11          Code of Civ. Proc. § 1021.5.
                           Costa Mesa, California




                                                    12                                 SECOND CAUSE OF ACTION
                                                    13
                                                                          INVASION OF PRIVACY INTRUSION INTO PRIVATE AFFAIRS

                                                    14   56.    Plaintiff repeats, re-alleges, and incorporates by reference, all other paragraphs.
                                                    15   57.    At all relevant times hereto, Defendant had and followed a policy and practice of
                                                    16          using a telecommunications system that enabled it to surreptitiously record
                                                    17          cellular telephone communications between Defendant and Plaintiff and Class
                                                    18          Members.
                                                    19   58.    At all relevant times hereto, Plaintiff and Class Members had a reasonable
                                                    20          expectation of privacy.
                                                    21   59.    At all relevant times hereto, Defendant intentionally and surreptitiously recorded
                                                    22          cellular telephone calls concerning confidential matters between Defendant and
                                                    23          Plaintiff and Class Members.
                                                    24   60.    At all relevant times hereto, Defendant had and followed a policy and practice of
                                                    25          not advising or warning Plaintiff and Class Members that their cellular
                                                    26          telephone communications with Defendant would be recorded.
                                                    27

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                                                    1    61.    Defendant failed to obtain consent of Plaintiff and Class Members prior to
                                                    2           recording any of their cellular telephone conversations, thus intentionally
                                                    3           intruding on Plaintiff’s and Class Members’ reasonable expectation of privacy.
                                                    4    62.    This intentional intrusion was a substantial factor in causing Plaintiff and Class
                                                    5           Members harm.
                                                    6    63.    Plaintiff’s counsel is also entitled to attorneys’ fees and costs pursuant to Cal.
                                                    7           Code of Civ. Proc. § 1021.5.
                                                    8                                         PRAYER FOR RELIEF
                                                    9            WHEREFORE, Plaintiff, on behalf of himself and the Class, prays that
                                                    10   judgment be entered against Defendant, and Plaintiff and the Class be awarded
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                                                    11   damages from Defendant, and each of them, as follows:
                           Costa Mesa, California




                                                    12   •       Certify the Class as requested herein;
                                                    13   •       Appoint Plaintiff to serve as the Class Representative for the Class;
                                                    14   •       Appoint Plaintiff’s Counsel as Class Counsel in this matter for the Class;
                                                    15   •       Punitive damages;
                                                    16   •       Special, general, compensatory and punitive damages;
                                                    17   •       Reasonable attorneys’ fees and costs; and
                                                    18   •       An amount of $5,000 for each violation of section 632 et seq. of the California
                                                    19          Penal Code, or three times the amount of any actual damages sustained by
                                                    20          Plaintiffs, whichever is greater.
                                                    21   In addition, Plaintiff and the Class Members pray for further judgment as follows
                                                    22   against Defendant:
                                                    23         ILLEGAL TELEPHONE RECORDING OF CELLULAR PHONE CONVERSATIONS
                                                    24                      UNDER CALIFORNIA PENAL CODE § 632.7

                                                    25   •     Special, general, compensatory and punitive damages;
                                                    26   •     As a result of Defendant’s violation of California Penal Code Sections 630 et
                                                    27         seq., Plaintiff seeks statutory damages of $5,000.00 pursuant to California Penal
                                                    28         Code § 637.2(a);

                                                                                                     12
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                                                    1    •     Reasonable attorneys’ fees pursuant to Cal. Code of Civ. Proc. § 1021.5;
                                                    2    •     Injunctive relief to prevent the further occurrence of such illegal acts pursuant to
                                                    3          California Penal Code § 637.2(b);
                                                    4    •     An award of costs to Plaintiff and;
                                                    5    •     Any other relief the Court may deem just and proper including interest.
                                                    6                                              INVASION OF PRIVACY
                                                    7                                         INTRUSION INTO PRIVATE AFFAIRS

                                                    8    •     Special, general, compensatory and punitive damages;
                                                    9    •     Reasonable attorneys’ fees pursuant to Cal. Code of Civ. Proc. § 1021.5;
                                                    10   •     Injunctive relief, prohibiting such conduct in the future; and,
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                                                    11   •     Any other relief the Court may deem just and proper.
                           Costa Mesa, California




                                                    12                                              TRIAL BY JURY
                                                    13   57.     Pursuant to the seventh amendment to the Constitution of the United States of
                                                    14           America, Plaintiff and Class Members are entitled to, and demand, a trial by
                                                    15           jury.
                                                    16                                                         Respectfully submitted,
                                                    17                                                         KAZEROUNI LAW GROUP, APC
                                                    18
                                                         Date: December 3, 2018                                By: s/Abbas Kazerounian
                                                    19
                                                                                                                     Abbas Kazerounian, Esq.
                                                    20                                                               ak@kazlg.com
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                                                         Class Action Complaint for Damages
